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                                             Count Three
                                             Bank Fraud
                                  (Violation of 18 U.S.C. § 1344(2))

        24.      The grand jury re-alleges and incorporates by reference the allegations

contained in paragraphs 1 through 21 of Count One of this indictment as if fully set forth

at this point.

        25.      On or about February 18,2016, in the Fort Worth Division of the Northern

District of Texas, defendants PATEL and JOHNSON, did knowingly execute and

attempt to execute a scheme and artifice to obtain moneys, funds, credits, assets,

securities, and other property owned by and under the custody and control of a financial

institution, namely, Synchrony Bank, the accounts of which were then insured by the

Federal Deposit Insurance Corporation, by means of materially false and fraudulent

pretenses, representations, and promises, in that PATEL and JOHNSON went to a

Sam's Club store in Fort Worth, Texas, which is in the Northern District of Texas, and

fraudulently applied to Synchrony Bank to receive a Sam's Club line of credit. As a

result of the false and fraudulent pretenses, representations and promises made to

Synchrony Bank by PATEL and JOHNSON, Synchrony Bank issued a line of credit in

the amount of$3,400.00 in the name of victim J.G.- an individual known to the grand

jury.

        All in violation ofTitle 18 U.S.C. § 1344(2).




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                                             Count Four
                                             Bank Fraud
                                  (Violation of 18 U.S.C. § 1344(2))

        26.      The grand jury re-alleges and incorporates by reference the allegations

contained in paragraphs 1 through 21 of Count One of this indictment as if fully set forth

at this point.

        27.      On or about February 10,2019, in the Dallas Division of the Northern
                                         '
District of Texas, defendants PATEL, BROWN and DANGER, did knowingly execute

and attempt to execute a scheme and artifice to obtain moneys, funds, credits, assets,

securities, and other property owned by and under the custody and control of a financial

institution, namely, Capital One Bank, National Association ("Capital One Bank"), the

accounts of which were then insured by the Federal Deposit Insurance Corporation, by

means of materially false and fraudulent pretenses, representations, and promises, in that

PATEL, BROWN and DANGER went to a Bass Pro Shops/Cabela's store in Garland,

Texas, which is in the Northern District of Texas, and fraudulently applied to Capital One

Bank to receive a Bass Pro Shops/Cabela's credit card. As a result of the false and

fraudulent pretenses, representations and promises made to Capital One Bank by

PATEL, BROWN and DANGER, Capital One Bank issued a line of credit in the

amount of$20,000.00 in the name of victim C.M.- an individual known to the grand

jury.

        All in violation of Title 18 U.S.C. § 1344(2).




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                                          Count Five
                                          Bank Fraud
                                  (Violation of 18 U.S.C. § 1344(2))

         28.     The grand jury re-alleges and incorporates by reference the allegations

contained in paragraphs 1 through 21 of Count One of this indictment as if fully set forth

at this point.

        29.      On or about March 24, 2019, in the Dallas Division of the Northern District

of Texas, defendant BOWLING, did knowingly execute and attempt to execute a scheme

and artifice to obtain moneys, funds, credits, assets, securities, and other property owned

by and under the custody and control of a financial institution, namely, Synchrony Bank,

the accounts of which were then insured by the Federal Deposit Insurance Corporation,

by means of materially false and fraudulent pretenses, representations, and promises, in

that BOWLING went to a Bachendorfs Jeweler's store in Dallas, Texas, which is in the

Northern District of Texas, and fraudulently applied to Synchrony Bank to receive a

Synchrony Bank credit card. As a result of the false and fraudulent pretenses,

representations and promises made to Synchrony Bank by BOWLING, Synchrony Bank

issued a credit in the amount of$15,000.00 in the name of victim W.P.-an individual

known to the grand jury.

       All in violation of Title 18 U.S.C. § 1344(2).




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                                           Count Six
                                          Bank Fraud
                               (Violation of 18 U.S.C § 1344(2))

       30.       The grand jury re-alleges and incorporates by reference the allegations

contained in paragraphs 1 through 21 of Count One of this indictment as if fully set forth

at this point.

       31.       On or about April1, 2019, defendants PATEL, BROWN and VASQUEZ,

did knowingly execute and attempt to execute a scheme and artifice to obtain moneys,

funds, credits, assets, securities, and other property owned by and under the custody and

control of a financial institution, namely, Capital One Bank, National Association

("Capital One Bank"), the ac9ounts of which were then insured by the Federal Deposit

Insurance Corporation, by means of materially false and fraudulent pretenses,

representations, and promises, in that PATEL, BROWN and VASQUEZ went to a Bass

Pro Shops/Cabela's store in Fort Worth, Texas, which is in the Northern District of

Texas, and fraudulently applied to Capital One Bank to receive a Bass Pro

Shops/Cabela's credit card. As a result of the false and fraudulent pretenses,

representations and promises made to Capital One Bank by PATEL, BROWN and

VASQUEZ, Capital One Bank issued a line of credit in the amount of$15,000.00 in the

name of victim J.C.-an individual known to the grand jury.

       All in violation ofTitle 18 U.S.C. § 1344(2).




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                                             Count Seven
                                             Bank Fraud
                                  (Violation of 18 U.S.C. § 1344(2))

        32.      The grand jury re-alleges and incorporates by reference the allegations

contained in paragraphs 1 through 21 of Count One of this indictment as if fully set forth

at this point.

        33.      On or about July 14, 2019, defendants PATEL, BROWN and

KURIATNYK, did knowingly execute and attempt to execute a scheme and artifice to

obtain moneys, funds, credits, assets, securities, and other property owned by and under

the custody and control of a financial institution, namely, Citibank, National Association

("Citibank"), the accounts of which were then insured by the Federal Deposit Insurance

Corporation, by means of materially false and fraudulent pretenses, representations, and

promises, in that PATEL, BROWN and KURIATNYK went to a Costco store in Dallas,

Texas, which is in the Northern District of Texas, and fraudulently applied to Citibank to

receive a Costco credit card. As a result of the false and fraudulent pretenses,

representations and promises made to Citibank by PATEL, BROWN and

KURIATNYK, Citibank issued a line of credit in the amount of$12,000.00 in the name

of victim G.D.-an individual known to the grand jury.

        All in violation of Title 18 U.S.C. § 1344(2).




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                                   Counts Eight through Seventeen
                                             Wire Fraud
                                   (Violation of 18 U.S.C. § 1343)

        34.      The grand jury re-alleges and incorporates by reference the allegations

contained in paragraphs 1 through 21 of Count One of this indictment as if fully set forth

at this point.

        35.      Beginning in or about January 2016-the exact date being unknown-and

continuing through on or about September 20, 2019, in the Northern District of Texas and

elsewhere, defendants DANGER, BOWLING, VASQUEZ, BROWN, PATEL,

KURIATNYK, and JOHNSON devised and intended to devise a scheme and artifice to

defraud and for obtaining money and property by means of material false and fraudulent

pretenses, representations, and promises, in that the defendants used the PII of victims to

fraudulently obtain credit cards or lines of credit from banks and then used the

fraudulently obtained credit cards or lines of credit to obtain money and other goods, and

in doing so, for the purpose of executing the scheme and artifice, the defendants

knowingly caused to be transmitted by means of wire communication in interstate

commerce, certain writings, sign, signals, pictures and sounds, as described below, each

such transmission constituting a separate count:

                                        Interstate Wires

 Count           Date        Defendant(s)                Transaction                    Amount

    8     On or about      PATEL             PATEL and JOHNSON used a                 $2,477.76
          February 13,     JOHNSON           fraudulently obtained Sam's Club
          2016                               credit card in victim L.B.'s name to
                                             purchase from Sam's Club twelve
                                             (12) Vanilla Mastercard J;~;ift cards.
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   9     On or about     PATEL            PATEL and JOHNSON used a               $2,684.24
         February 18,    JOHNSON          fraudulently obtained Sam's Club
         2016                             credit card in victim J.G.'s name to
                                          purchase from Sam's Club thirteen
                                          (13) Vanilla Mastercard gift cards.
   10    On or about     PATEL            PATEL, BROWN and DANGER                $407.82
         February 10,    BROWN            used a fraudulently obtained Bass
         2019,           DANGER           Pro Shops/Cabela's credit card in
                                          victim C.M.'s name to purchase
                                          goods at Home Depot.
   11    On or about     PATEL            PATEL, BROWN and DANGER                $204.94
         March 7, 2019   BROWN            used a fraudulently obtained Bass
                         DANGER           Pro Shops/Cabela's credit card in
                                          victim M.H. 's name to purchase
                                          goods at Walmart.
   12    On or about     DANGER           DANGER and VASQUEZ used a              $4,977.63
         March 2, 2019   VASQUEZ          fraudulently obtained Bass Pro
                                          Shops/Cabela's credit card in victim
                                          C. H.'s name to purchase foreign
                                          currency at Travelex Currency.
   13    On or about     BOWLING          BOWLING used a fraudulently            $14,667.88
         March 24,                        obtained Synchrony Bank line of
         2019                             credit in victim W .P .' s name to
                                          purchase a watch and a ring at
                                          Bachendorfs Jeweler's.
   14    On or about     PATEL            PATEL, BROWN, and                      $398.34
         April 7, 2019   BROWN            VASQUEZ used a fraudulently
                         VASQUEZ          obtained Bass Pro Shops/Cabela's
                                          credit card in victim J.C.'s name to
                                          rent a vehicle at Avis.
   15    On or about     PATEL            PATEL, BROWN, and                      $1,099.84
         April10, 2019   BROWN            VASQUEZ used a fraudulently
                         VASQUEZ          obtained Bass Pro Shops/Cabela's
                                          credit card in victim J.C.'s name to
                                          purchase gift cards and other items
                                          at Walmart.
   16    On or about     PATEL            PATEL, BROWN, and                      $4,449.49
         July 14,2019    BROWN            KURIATNYK used a fraudulently
                         KURIATNYK        obtained Costco credit card in
                                          victim G.D.'s name to purchase
                                          goods.
   17    On or about     PATEL            PATEL, BROWN, and                      $3,930.15
         July 17,2019    BROWN            KURIATNYK used a fraudulently
                         KURIATNYK        obtained Costco credit card in
                                          victim G.D.'s name to purchase
                                          goods.
All in violation of Title 18 U.S.C. § 1343.



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                                             Count Eighteen
              Using or Trafficking in Unauthorized Access Devices and Aiding and Abetting
                              (Violations of 18 U.S.C. §§ 1029(a)(2) and 2)

                36.      The grand jury re-alleges and incorporates by reference the allegations

        contained in paragraphs 1 through 21 of Count One of this indictment as if fully set forth

        at this point.

                37.      On or about February 13,2016, in the Northern District of Texas and

        elsewhere, the defendants PATEL and JOHNSON, aided and abetted by each other and

        by others known and unknown to the grand jury, did knowingly and with intent to

        defraud use one or more access devices during any one-year period, namely a Sam's Club

        credit card in the name of victim L.B., and by such conduct obtained anything of value

        aggregating $1,000 or more during that one-year period, affecting interstate and foreign

        commerce.

               All in violation of Title 18 U.S.C. §§ 1029(a)(2) and 2.




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